Case 1:05-cv-01112-.]DT-STA Document 7 Filed 06/06/05 Page 1 of 3 Page|D 1

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IN THE UNITED STATES DISTRICT COURT 05 ""`\D-C.
FOR THE WESTERN DISTRICT OF TENNESSEE JU" ~6 gu 9, 38
EASTERN DIVISION RG&EHT g al

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CLARA r). MARTINEZ, ) F m T.
)
Plaintiff, )
)

VS. ) NO. 05-1112-T

)
CoMMlssioNER oF )
soCIAL sECURITY, )
)
Defendant. )

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of the Commissioner of Social Security
denying Plaintiff‘s application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintiff‘s brief in support of this appeal must be filed within 30 days of the
date of this order.

Def`endant's brief in opposition to this appeal must be filed within 30 days after
service of Plaintit`f‘s brief.

If Plaintiff wishes to file a reply brief, such brief must be filed within 10 days after
service of Defendant's brief

Failure of either party to comply with this order will result in appropriate sanctions,
which may include consideration of the case without regard to that party's brief, or dismissal

of the action.

This document entered on the docket sheet in compliance
with nine ss and/or 19 (a) FncP on 5

Case 1:05-cv-01112-.]DT-STA Document 7 Filed 06/06/05 Page 2 of 3 Page|D 2

Oral argument Will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

D STATES DISTRICT JUDGE

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UNITSTED`ATES DISTRICT C URT - wESTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 7 in
case 1:05-CV-01112 was distributed by f`aX, mail, or direct printing on
June 6, 2005 to the parties listedl

 

 

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Honorable J ames Todd
US DISTRICT COURT

